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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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KEVIN COOK,
                                                                                                   ,I111:Jw 1·
                                   Plaintiff,
                 -against-                                              19   CIVIL 8317 (CS)

                                                                          JUDGMENT
SHERRIFF CARL DUBOIS and SGT. COLBY,

                                   Defendants.
-----------------------------------------------------------X

        It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion & Order dated January 11, 2021, Defendants' motion to dismiss is

GRANTED; accordingly, this case is closed.

Dated: New York, New York

          January 11, 2021


                                                                     RUBY J. KRAJICK

                                                                       Clerk of Court
                                                               BY:
